                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                          )
                                                  )   Case No. 1:11-cr-37
v.                                                )
                                                  )   MATTICE / LEE
                                                  )
RACHEL MATHEWS                                    )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Counts One, Two and Three of the

fourteen-count Indictment; (2) accept Defendant’s plea of guilty to Counts One, Two and Three of

the Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One, Two and

Three of the Indictment; (4) defer a decision on whether to accept the plea agreement until

sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 43].

Neither party filed a timely objection to the report and recommendation. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 43] pursuant

to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Counts One, Two and Three

               of the Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Counts One, Two and Three of the Indictment is

               ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One, Two

               and Three of the Indictment;



Case 1:11-cr-00037-TRM-SKL           Document 45 Filed 08/30/11             Page 1 of 2      PageID
                                           #: 172
      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, November 14, 2011 at 2:00 p.m. before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




                                              2


Case 1:11-cr-00037-TRM-SKL       Document 45 Filed 08/30/11          Page 2 of 2    PageID
                                       #: 173
